WORLD ROOKIE                                                        AUSTRIA                     kM-
                                     KITZSTEINHQRN
                                     f«VL   AH   *11   '   tAPau"                                   VtCBlD
                                                                    10-15 APRIL                ^    SHOWBQABOTO


FINALS                                       ZellamSee
                                     r'- Kapnin                     HAL5PIPE + SL0PESTYL£
                                                                                                   n.oea^


                              WORLD ROOKIE FINALS 2018
                      Kitzsteinhorn - Kaprun, Zell am See, Austria. 10.-15. April 2018

After a season ofrookie fest events all around the world, reg/sfrofyons are now open for "Le Grand Finale" at
Kitzsteinhorn - Kaprun, Zell am See, the eventeverybody iswaiting for, where the 2018 World Rookie
Champions will be crowed.

                                        - REGISTRATIONS ARE OPEN -


The Black Yeti travelled all around the world in the last 8 months: from New Zealand to Italy, from Bulgaria
to Scandinavia, from the Alps to Japan to North America, Rookies from more than 30 countries battled
to conquer their spot to the most exclusive youth snowboard event on planet Earth: the World Rookie
Finals, at Kitzsteinhorn - Kaprun/Zell am See, Austria.

Only the most promising riders will join this legendary event, which award in the latest 12 years the
annual World Rookie Champion titles and incredible prizes: wildcard to World Class Events, filming session
with Pirate Movie Production, invitation to Rookie Fest Shooting, Trip to Chile and many tickets to next
season Rookie Fest events. Roope Tonteri, Sven Thorgren, Christian Haiier, Gjermund Braaten or Raiwa
iwabuchi are only some of the previous winner: who will be the next snowboard star to be crowned in
Austria?


Riders from aii over the world wiii come for a unique sports and lifestyle event in a great international
scenario, The program of2017 World Rookie Finals will include World Snowboard Tour Slopestyle and Half
Pipe contest and many lifestyle activities: social dinner every day, workshops with Viva con Aqua, a first aid
clinic the final party and much more you will not miss for any reason.

If you are a snowboard fan or if your dream is to start a professional snowboard carrier, then Kitzsteinhorn,
Kaprun/Zell am See, Austria, is the place to be from April the 10"^ to April the 15"^.

Download here the event info, program and registration form at
www.worldrookietour.com/downloads/wrt2017/WRF17 Kitzsteinhorn.doc


Registration, info and bookings
registration@worldrookietour.com

Watch the videofrom the 2017 WorldRookie Finals at Kitzsteinhorn Kaprun/Zell am See
here: https://vimeo.com/215622564



Follow the World Rookie Tour Black Yeti I
Web: www.worldrookietour.com and www.worldsnowboardfederation.ore
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Vimeo: www.vimeo.com/channels/worldrookietour


                                                                                            Attachment A - Invitation



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